         Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 1 of 11



'               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

    KEITH THOMAS,

           Plaintiff,                              Civil Case   NJ: 22-CV- 0272
    V.                                             Complaint for Damages
                                                   Jury Trial Demand
    SELECT PORTFOLIO
    SERVICING, INC.
                                                                    FILEDIN CLERK'S OFFICE
                                                                         U.S.D.C. -Atlanta
           Defendant,
                                                                        JAN 2 4 2022
    DLJ MORTGAGE CAPITAL
                                                                  KEVIN P. WEIMER Clerk
    INC.,                                                         B .                   •
                                                                   Y·             Deputy Clerk


            Defendant,

           NOW COMES Keith Thomas, plaintiff in the above do now submit

    this complaint for damages with a jury trial being demanded seeking just and

    adequate relief from the named defendants to this action. These defendants

    have engaged in a series of events against this plaintiff that no other method

    or avenues of law exist other than the filing of this action now being

    submitted before this court

                                   THE PARTIES

            1. a; Plaintiff; The plaintiff is a United States citizen over the age

    of 18 years old and is the registered owner of the residential property located

                                        Page 1
    Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 2 of 11




at 2655 West Road, City of South Fulton, Georgia a/k/a 2655 West Road,

Riverdale, GA .

           b; Defendant Select Portfolio Servicing, Inc.; This defendant

is a for profit Corporation located and situated at; 3 217 S. Decker Lake

Drive, Compliance, Salt Lake City, Utah 84119 and maintains a Georgia

Registered Agent at; Corporation Service Company, 2 Sun Court, Suite 400,

Peachtree Comers, GA 30092.

           c; Defendant DLJ Mortgage Capital, Inc.; is a Foreign for

profit Corporation located and situated at; 11 Madison Avenue, Corp Tax

Dept, New York, NY 10010-3643 and at 277 Park Ave., New York, NY

10172-0003 and maintains a Georgia Registered Agent at; Corporation

Service Company, 2 Sun Court, Suite 400, Peachtree Comers, GA 30092.

                      STATEMENT OF THE FACTS

       2. On or around December 22, 2021, both of the defendants served a

written notice upon the plaintiff via U.S. Mail indicating that a purported

Notice of Servicing Transfer had taken place concerning the plaintiff's

personal residential property. Allegedly, this Notice of Servicing Transfer

was purportedly between both of these defendants and Bank of America,

N.A., [BAC] for what they allege to be a mortgage that both of these

                                    Page2
    Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 3 of 11




defendants claim that BAC allegedly owns bearing the plaintiffs name.,

identifying the plaintiffs personal residence and stating an amount of

$155,000.00 purportedly to be owed to BAC from this plaintiff.

       3. Within less than a 30 days period of time, these defendants

repeatedly sent a series of written documents to the plaintiff via U .S. Mail

demanding money from the plaintiff, demanding that the plaintiff release to

them all of his personal information, demanding that the plaintiff release to

them all of his personal checking and savings account( s) information and

demanding that the plaintiff authorize them to withdraw unknown amounts

of money from the plaintiffs bank account(s) under the threat that if ALL of

the information requested is not provided to them immediately, that they

would initiate and conduct a foreclosure against the plaintiff's residential

property where he resides.

       4. These defendants knew or should have known that Bank of

America, N.A. ' s alleged claims to both own a mortgage against this

plaintiff's residential property and also that all purported claims of any

previously alleged assignments from Northstar Mortgage Group, LLC to

Bank of America, N.A. are already the subject of an ongoing lawsuit now

before this court and that ongoing lawsuit is not closed as of the date of the

                                    Page3
    Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 4 of 11




filing of this present complaint now being made against them.

      5.. These defendants have willingly set out to undermine the entire

ongoing court process and to confederate themselves with Bank of America,

N.A., and all of the other defendants named to the already ongoing lawsuit.

The actions of these defendants are specifically for the purposes of

continuing and participating within the ongoing fraud that the Bank of

America defendants already are involve in, continuing the ongoing civil and

criminal conspiracy that the Bank of America defendants are being sued for,

and to further the ongoing efforts of the Bank of America defendants at

violating this plaintiffs rights under The Civil Rights Act of 1866 and 42

U.S.C. § 1982, and The RICO Statues as described within 18 U.S.C. §§

1961 and 1962 "Mail Fraud" .

                      JURISDICTION AND VENUE

      6. Jurisdiction is pursuant to the laws of the United States of America,

moreover and specifically The Civil Rights Act of 1866 and 42 U.S.C. §

1982 "Property Rights of Citizens", Federal Rule of Civil Procedure 9(b)

"Fraud", 18 U.S.C. § 1961 "Mail Fraud", and 18 U.S.C. § 1962

Racketeering Influenced Corrupt Organization [RICO], and 28 U.S.C. §

1332 Diversity of Citizenship. These defendants do business on a regular

                                   Page4
     Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 5 of 11




basis within Georgia and maintains a Registered Agent within Gwinnett

County, Georgia, therefore, jurisdiction and venue is proper within the U.S.

district court for the northern district of Georgia, Atlanta division.

              FRCP 9(b) BRIEF STATEMENT OF FRAUD

      7. Beginning on or around 21 December, 2021 , these two defendants

began communicated with the plaintiff via U.S. Mail alleging to have been

assigned a residential mortgage from Bank of America, N .A. allegedly

owned by Bank of America, N.A. and allegedly owed to Bank of America,

N.A. from this plaintiff. The mailed documents have repeatedly been mailed

to the plaintiff on a weekly basis demanding money and the information that

the plaintiff described earlier within this lawsuit. At no time in the past nor

at no time presently have the plaintiff ever agreed to or owed any amount of

money in the form of a residential mortgage to Bank of America, N .A. and

at no time in the past nor in the present have the plaintiff ever agreed to pay

any amount of money to Bank of America, N .A. for any type of mortgage

either in the plaintiffs name or in a name that the plaintiff signed his name

to agreeing on the behalf of any other person. All attempts by Bank of

America, N .A. and any person or entity acting on their behalf to collect any

amount of money from this plaintiff is a direct result of fraud on the part of

                                     Page5
     Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 6 of 11




Bank of America, N .A. and also by these two defendants allegedly acting on

their [Bank of America, N .A.] ' s behalf.

                           CLAIMS FOR RELIEF

      8. Violations of The Civil Rights Act of 1866 and 42 U.S.C. §

1982; Pursuant thereto, this set of statues provides that "All citizens of the

Untied States shall have the same right, in every State and Territory, as is

enjoyed by white citizens thereof to inherit, purchase, lease, sell, hold, and

convey real and personal property." In this case, the plaintiff is not White

and the actions of these two defendants are for the sole purposes of

preventing the plaintiff from owning, selling, holding, conveying or leasing

real property as a direct result of his race. Additionally, the actions of these

defendants were orchestrated by Bank of America, N.A.'s continuous and

ongoing effort to complete an unfinished foreclosure list within the 30296

zip code that is mostly populated with African Americans. This set of

defendants are not the true owners of the residential property identified by

the plaintiff as belonging to the plaintiff, they do not own or hold an active

financial interest within a Note or any other legal Instrument attached to or

identified as being legally associated with the real property identified by the

plaintiff within this lawsuit, and any documents in their possession bearing

                                     Page6
     Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 7 of 11




the name of this plaintiff are fraudulent in nature and are for the sole purpose

of falsely raking the plaintiffs property and purposely preventing this

plaintiff from owning, selling, conveying, leasing or possibly causing his

descendant to not be able to inherit the real property described within this

complaint in violation of the statues cited within this section. As a result,

the plaintiff is entitle to relief from this court.

       9. Violations of 18 U.S.C. § 1961 "Mail Fraud" and 18 U.S.C. §

1962 RICO; This set of defendants were fully informed and instructed by

Bank of America, N .A. to bombard this plaintiff with demands for money

via U.S. Mail and to threaten this plaintiff that they will foreclose on his

residence for an alleged mortgage or loan that the plaintiff have never made

with them nor with Bank of America, N.A.. All of these facts are presently

being litigated in an ongoing lawsuit in this U.S. district court, however, this

set of defendants willfully and intentionally confederated themselves with

Bank of America, N.A. to disregard this set of facts, to undermine the legal

process and to attempt to extort this plaintiff out of money using threats

made by and through the U.S. Mail. Their actions are in direct violation of

federal law and are prima facia evidence of RICO violations. As a result,

the plaintiff is entitle to relief from this court.

                                       Page7
     Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 8 of 11




       10. Fraud; The plaintiff has provided a brief statement of fraud in

compliance with FRCP 9(b) as required by this court. As a direct result, the

plaintiff now asserts that this set of defendants has committed fraud against

him causing harm to the plaintiff and as a result, the plaintiff is entitle to the

relief that he seeks by and through this complaint now before this court.

       11. Civil Conspiracy; This set of defendants have confederated

themselves with the bank defendants identified within a separate ongoing

lawsuit between this plaintiff and Bank of America, N.A. within this court.

See Thomas v. Bank ofAmerica, NA. et al, case no. l:21-cv-03369-WMR.

The actions of these two defendants meet and exceed the necessary

prerequisites to qualify as a civil conspiracy; 1.. There was an agreement

between two or more persons to commit a torturous or unlawful act by

unlawful means ... and 2 ... That overt act caused harm to the complaining

party, in this case, to this plaintiff. As a result, this plaintiff is entitle to the

relief that he seeks for the claims made against this set of defendants.

                                      RELIEF

       12. The plaintiff seeks relief from each of these defendants separately

and jointly in the form of monetary, statutory, compensatory and punitive

damage award relief from each defendant for the acts and claims set forth

                                       Page8
    Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 9 of 11




within this complaint. The illegal acts of the defendants described within

this complaint are clear and convincing evidence that each defendant must

be punished in the most severe manner that the court and a jury can offer

given the gravity and boldness displayed by these defendants as they have a

complete and total disregard for the ongoing legal authority of this court and

a complete disregard for the law.

      13. The plaintiff seeks a monetary damage award from each

defendant separately in an amount not less than $1,000,000.00 from each

defendant per claim.

       14. Additionally, the plaintiff seeks preliminary, temporary and

permanent injunctive relief in the form of an order from the court enjoining

each of the defendant from any present or future attempts at establishing a

financial interest within the plaintiff's residential property referenced within

this lawsuit for the reasons, facts and evidence supporting this civil

complaint before this court.
       15. Additionally, the plaintiff seeks an order frotn this court

certifying this complaint to be classified as a RICO lawsuit commanding

treble damages from each defendant.

       16. Additionally, the plaintiff seeks an order from the court

                                    Page9
    Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 10 of 11




commanding the FBI to investigate these defendants actions for all of their

purported assignment rights claimed within the written documents that they

mailed to the plaintiff demanding money from the plaintiff.

       17. Additionally, the plaintiff seeks an order from the court in the

form of sanctions, punitive damage(s) and civil statutory damages levied

against the defendants given the gravity of the actions of these defendants as

described within this lawsuit.

                                 JURY DEMAND

       18. The plaintiff demands a trial by jury for all issues of law and fact

raised within this complaint before the court pursuant to the rules of the

court and the United States constitution.

                                 CONCLUSION

        WHEREFORE the plaintiff have presented facts and evidence before

this court stating to a certainty that these defendants have in fact committed

fraudulent acts against this plaintiff and as a result, the plaintiff is entitle to

the relief he seeks as stated before the court within this lawsuit.

         The plaintiff have no other avenue(s) or options within the law

available to him other than to pursue and demand the relief described herein

from this set of defendants.

                                      Page 10
       Case 1:22-cv-00272-WMR Document 1 Filed 01/24/22 Page 11 of 11




           This set of defendants' actions are dilatory, recalcitrant and offend

   against all legal standards of known and established laws within a civilized

   society and must be addressed.

           For these reasons, the plaintiff respectfully submit this complaint

   before the court seeking the relief stated he;z,as a matter of right and law.

           Respectfully submitted on this J.!l_day of January, 2022.


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    ~ hThomas, p1amtl
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                                      Page 11
